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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                8:13CR244
                  Plaintiff,
                                                          ORDER
      vs.
LUIS MEZA-GALVEZ,
                  Defendant.


     IT IS ORDERED that:

     1.     The Defendant's unopposed Motion              for   Continuance     of
            Sentencing (filing 269) is granted.

     2.     Defendant Luis Meza-Galvez's sentencing is continued to Friday,
            July 11, 2014, at 3:00 p.m., before the undersigned United States
            District Judge, in Courtroom No. 4, Roman L. Hruska Federal
            Courthouse, 111 South 18th Plaza, Omaha, Nebraska. The
            defendant shall be present at the hearing.

     Dated this 16th day of May, 2014.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge
